   Case 1:10-cr-00191-RJA-HKS            Document 430    Filed 03/23/12     Page 1 of 24




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                            Plaintiff,

              v.                                                  10-CR-191A

RODNEY HILL, et al.,

                     Defendants.
_____________________________________


                                 DECISION AND ORDER

              This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. #3.



                              PRELIMINARY STATEMENT

              The defendant, Pauline Manuel (“Manuel”), along with nineteen others,

is charged in a multi-count Superseding Indictment (Dkt. #296) with conspiracy to

possess with intent to distribute cocaine and cocaine base (Count 3) and five counts of

using a telephone to facilitate possession with intent to distribute and distribution of

controlled substances (Counts 55-59). Presently pending are Manuel’s dispositive and

non-dispositive motions with respect to the Superseding Indictment. Dkt. ##355. What

follows is this Court’s Decision and Order with respect to defendant Manuel’s non-

dispositive discovery motions. This Court’s Report, Recommendation and Order with

respect to Manuel’s motion to dismiss the Superseding Indictment; motion to dismiss
   Case 1:10-cr-00191-RJA-HKS         Document 430       Filed 03/23/12    Page 2 of 24




Count 3, motion to dismiss Counts 55-59; motion to suppress wiretap evidence and

motion for a Franks hearing was filed on March 16, 2012. Dkt. #423.



                                          FACTS

              Defendant Manuel and twenty-six others were charged in a Criminal

Complaint on December 15, 2009 with cocaine-related drug trafficking offenses in

violation of Title 21, United States Code, Sections 841(a)(1), 843(b) and 846. The

Criminal Complaint, authorized by the undersigned, was supported by a 281-page

affidavit of Federal Bureau of Investigation (“FBI”) Special Agent Vanessa Paris

alleging, inter alia, that six months of court-authorized intercepted telephone

communications, controlled purchases, informant information and other evidence

established the defendants’ long-standing participation in the trafficking of multi-

kilogram quantities of cocaine and cocaine base.



              Defendant Manuel was among the ten defendants indicted by a Federal

Grand Jury on June 29, 2010. Dkt. #1. Thereafter, on May 3, 2011, a Federal Grand

Jury returned a Superseding Indictment against Manuel and nineteen defendants. Dkt.

#296. Following her July 7, 2011 arraignment, defendant Manuel continued to be

released on bail. Defendant Manuel filed pretrial motions on November 18, 2011 (Dkt.

#355) and the government filed its opposition to Manuel’s pretrial motions on December

9, 2011 (Dkt. #376). Oral argument on defendant Manuel’s motions was held on

December 14, 2011.



                                            -2-
   Case 1:10-cr-00191-RJA-HKS         Document 430      Filed 03/23/12     Page 3 of 24




                             DISCUSSION AND ANALYSIS

Bill of Particulars

              The defendant seeks the following information with respect to Count 3 of

the Superseding Indictment: the exact date defendant Manuel joined the alleged

conspiracy; the manner in which she joined the conspiracy; the identity of all known but

unnamed co-conspirators; each individual with which defendant Manuel had an

agreement with respect to the conspiratorial goal; whether defendant Manuel’s

knowledge of the possession and distribution of the controlled substances is actual or

constructive; exactly how defendant Manuel “knew” of the possession and/or

distribution of cocaine; the specific locations within the Western District of New York in

which defendant Manuel engaged in the conspiracy; the other unnamed locations in

which the conspiracy took place; the precise conduct of defendant Manuel alleged to

establish the conspiracy elements of combination and agreement; the quality of the

cocaine possessed and distributed; the basis for attributing the entire amount of

controlled substances listed in Count 3 to defendant Manuel; specify the overt acts of

defendants intended to be proven at trial; the exact date, time and place these alleged

offenses occurred; exact amount of cocaine and cocaine base involved in the alleged

distribution; the identity of the alleged purchasers including any confidential informant

and/or police officers or others acting on behalf of the government. Dkt. #355, pp.6-7.



              With respect to Counts 55-59 of the Superseding Indictment, defendant

Manuel seeks the following information: the phone company and owner(s) of the phone



                                            -3-
   Case 1:10-cr-00191-RJA-HKS         Document 430       Filed 03/23/12    Page 4 of 24




used; the exact date, time and place the calls were alleged to be made; the name and

owner of the phone; and the name of any individual present when the phone was used

and whether the individual was a government employee, agent or informant; as well as

information concerning the conspiracy. Id. at pp.8-9.



              In its response to defendant Manuel’s request for particularization of the

conspiracy charge, the government asserts that what the defendant seeks is a bill of

particulars regarding the development of and the defendant’s involvement throughout

the conspiracy. In addition, the government asserts that it should not be required to

furnish particulars relating to the formation of a conspiracy, including when and how it

was formed and when a particular defendant joined, because such details need not be

proven at trial. Finally, the government states,

              [b]ecause the defendant will have full discovery, exculpatory
              and impeachment material, a witness list, exhibit lists,
              including § 3500 materials, well in advance of the trial, he
              [sic] will not be surprised by the evidence against him [sic] or
              be subject to future jeopardy in a way he [sic] might
              otherwise justify ordering any of the particulars that he [sic]
              requests.

Dkt. #376, p.7. In response to defendant Manuel’s request for particularization

concerning Counts 55-59, the government states,

              [w]ith respect to particulars concerning the telephone calls,
              the calls themselves have been provided. Moreover, all
              calls are described further in a 281 page criminal complaint,
              which criminal complaint provides a great deal of detail as to
              the instant charges and the defendant’s conduct
              encompassed by this indictment. Many of the particulars




                                            -4-
   Case 1:10-cr-00191-RJA-HKS         Document 430       Filed 03/23/12     Page 5 of 24




              sought by the defendant could be derived simply by reading
              the criminal complaint which preceded this indictment.

Id. at p.6.



              It has become axiomatic that the function of a bill of particulars is to

apprise a defendant of the essential facts of the crime for which he has been charged.

United States v. Salazar, 485 F.2d 1272, 1277-78 (2d Cir. 1973); cert. denied, 415 U.S.

985 (1974); Wong Tai v. United States, 273 U.S. 77 (1927). The charges in the

Indictment, the 281-page criminal complaint, along with the discovery materials

provided by the government, clearly inform the defendant of the essential facts of the

crimes charged. As a result, the defendant is not entitled to, nor is he in need of, the

“particulars” being sought for that purpose. Accordingly, defendant’s request for a bill of

particulars is denied.

              A bill of particulars should be required only where the
              charges of the indictment are so general that they do not
              advise the defendant of the specific acts of which he is
              accused.” United States v. Feola, 651 F. Supp. 1068, 1132
              (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d Cir.) (mem.), cert.
              denied, 493 U.S. 834, 110 S.Ct. 110, 107 L.Ed.2d 72
              (1989); see also United States v. Leonelli, 428 F. Supp. 880,
              882 (S.D.N.Y. 1977). “Whether to grant a bill of particulars
              rests within the sound discretion of the district court.” United
              States v. Panza, 750 F.2d 1141, 1148 (2d Cir. 1984) (citing
              United States v. Burgin, 621 F.2d 1352, 1358-59 (5th Cir.),
              cert. denied, 449 U.S. 1015, 101 S.Ct. 574, 66 L.Ed.2d 474
              (1980)); see also [United States v.] Bortnovsky, 820 F.2d
              [572] at 574 [(2d Cir. 1987)]. “Acquisition of evidentiary
              detail is not the function of the bill of particulars.” Hemphill
              v. United States, 392 F.2d 45, 49 (8th Cir.), cert. denied, 393
              U.S. 877, 89 S.Ct. 176, 21 L.Ed.2d 149 (1968).




                                             -5-
   Case 1:10-cr-00191-RJA-HKS         Document 430     Filed 03/23/12    Page 6 of 24




United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); see also United States v.

Chen, 378 F.3d 151, 163 (2d Cir.), cert. denied, 543 U.S. 994 (2004); United States v.

Porter, No. 06-1957, 2007 WL 4103679 (2d Cir. Nov. 19, 2007), cert. denied, 128 S.Ct.

1690 (2008).



Giglio Material
Brady Material

               In two separate requests the defendant is seeking the disclosure of Brady

and Giglio material. Dkt. #355, pp.10 and 12. In its response the government states,

               [t]his request is unnecessary, as the government
               acknowledges its affirmative and continuing duty to produce
               exculpatory evidence and evidence the defense might use to
               impeach the government’s witnesses. . . . Here, the
               government agrees to provide impeachment material i.e.,
               promises of leniency or immunity agreements with
               government witnesses, plea and/or non-prosecution
               agreements and letters or memorandum of understanding
               regarding such, criminal arrest records of all prosecution
               witnesses, immoral, vicious or criminal acts committed by
               witnesses, prior inconsistent statements, and payments to
               witnesses or family members thereof, and all other promises
               or considerations given by government personnel to
               government witnesses or family members thereof. Such
               production shall occur according to the schedule set by the
               Court prior to trial and no later than when the government
               produces any Jencks Act material.

Dkt. #376, pp.9-10.



               “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

United States v. Coppa, 267 F.3d 132, 146 (2d Cir. 2001). The prosecution is obligated


                                            -6-
   Case 1:10-cr-00191-RJA-HKS            Document 430    Filed 03/23/12    Page 7 of 24




to disclose and turn over Brady material to the defense “in time for its effective use.” Id.

at 144. With respect to impeachment material that does not rise to the level of being

Brady material, such as Jencks Act statements, the prosecution is not required to

disclose and turn over such statements until after the witness has completed his/her

direct testimony. See 18 U.S.C. § 3500; Fed. R. Crim. P. 26.2; In re United States, 834

F.2d 283 (2d Cir. 1987). However, if the government has adopted a policy of turning

such materials over to the defendant prior to trial, the government shall comply with that

policy; or in the alternative, produce such materials in accordance with the scheduling

order to be issued by the trial judge.



              Based on the representations made by counsel for the government as to

its obligations under Brady and Giglio, the defendant’s request is denied, but the

government is hereby directed to comply with the Second Circuit Court of Appeals’

holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v.

Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely disclosure of those materials

to the defendant.



Early Disclosure of Jencks Act Material

              By this request, the defendant seeks the early disclosure of witness

statements pursuant to Title 18, United States Code, Section 3500. Dkt. #355, pp.10-

11. In its response, the government states,

              [t]o the extent not already provided, the government will
              disclose witness statements and investigative agency or


                                             -7-
   Case 1:10-cr-00191-RJA-HKS         Document 430       Filed 03/23/12    Page 8 of 24




              police department memoranda of witness interviews no later
              than two weeks prior to trial, as is customarily ordered in this
              District. The government declines to provide statements and
              the identities of persons interviewed who will not be called
              by the government.

Dkt. #376, p.9.



              As noted above, with respect to impeachment material that does not rise

to the level of being Brady material, such as Jencks Act statements, the prosecution is

not required to disclose and turn over such statements until after the witness has

completed his or her direct testimony. See 18 U.S.C. § 3500; Fed. R. Crim. P. 26.2; In

re United States, 834 F.2d 283 (2d Cir. 1987). However, if the government has

adopted a policy of turning such materials over to the defendant prior to trial, the

government shall comply with that policy; or in the alternative, produce such materials

in accordance with the scheduling order to be issued by the trial judge.



              Based on the representations made by counsel for the government, that it

will comply with the trial judge’s pretrial order concerning the disclosure of witnesses’

statements, the defendant’s request is denied. Notwithstanding the foregoing, the

government is hereby directed to comply with the Second Circuit Court of Appeals’

holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v.

Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely disclosure of those materials

to the defendant.




                                            -8-
   Case 1:10-cr-00191-RJA-HKS          Document 430       Filed 03/23/12     Page 9 of 24




Identity of Informants

              The defendant requests the disclosure of the identity and addresses of

any government informants. Dkt. #355, p.11. In its response, the government states

that such disclosure is unwarranted at this time. Dkt. #376, p.10. Relying principally on

Roviaro v. United States, the government states in its response that the disclosure of

the names, addresses and other information pertaining to government informants is

unwarranted. In order for disclosure to be warranted, the informant’s testimony must be

material to the defense presented and the defendant must make some evidentiary

showing demonstrating why the informant’s testimony is significant to determining the

defendant’s guilt or innocence. Id.



              In order to be entitled to the requested information, the defendant must

sufficiently state a basis for requiring the disclosure of this information or that the

testimony of the informant would be of even marginal value to the defendant’s case.

Moreover, the Court notes that the holding of the Court of Appeals for the Second

Circuit in United States v. Saa, 859 F.2d 1067 (2d Cir. 1988), cert. denied, 489 U.S.

1089 (1989), is instructive:

              The leading Supreme Court case on this question, Roviaro
              v. United States, 353 U.S. 53, 77 S.Ct. 623, 1 L.Ed.2d 639
              (1957), holds that

                     [w]here the disclosure of an informant’s
                     identity, or of the contents of his
                     communication, is relevant and helpful to the
                     defense of an accused, or is essential to the
                     fair determination of a cause, the [informant’s]
                     privilege must give way.


                                              -9-
Case 1:10-cr-00191-RJA-HKS       Document 430       Filed 03/23/12    Page 10 of 24




         353 U.S. at 60-61, 77 S.Ct. at 628. The Court explained that
         “no fixed rule with respect to disclosure is justifiable.” Id. at
         62, 77 S.Ct. at 628. What is required is “balancing the
         public interest in protecting the flow of information against
         the individual’s right to prepare his defense.” Id. Whether
         non-disclosure is erroneous “must depend on the particular
         circumstances of each case, taking into consideration the
         crime charged, the possible defenses, the possible
         significance of the informer’s testimony, and other relevant
         factors.” Id. See Rugendorf v. United States, 376 U.S. 528,
         534-35, 84 S.Ct. 825, 829, 11 L.Ed.2d 887 (1964); United
         States v. Lilla, 699 F.2d 99, 105 (2d Cir. 1983); United
         States v. Ortega, 471 F.2d 1350, 1359 (2d Cir. 1972), cert.
         denied, 411 U.S. 948, 93 S.Ct. 1924, 36 L.Ed.2d 409
         (1973).

         The defendant is generally able to establish a right to
         disclosure “where the informant is a key witness or
         participant in the crime charged, someone whose testimony
         would be significant in determining guilt or innocence.”
         United States v. Russotti, 746 F.2d 945, 950 (2d Cir. 1984);
         United States v. Roberts, 388 F.2d 646, 648-49 (2d Cir.
         1968); see United States v. Price, 783 F.2d 1132 (4th Cir.
         1986); United States v. Barnes, 486 F.2d 776 (8th Cir. 1973).
         In Roberts, the informant introduced an undercover agent to
         the defendant and was present when the defendant and the
         agent negotiated and transacted two sales of heroin. The
         Court, noting that the informant was “present during all the
         significant events,” 388 F.2d at 649, found that he was
         “obviously a crucial witness to the alleged narcotics
         transactions,” id., and therefore, his whereabouts should
         have been revealed to the defense if properly requested.
         But disclosure of the identity or address of a confidential
         informant is not required unless the informant’s testimony is
         shown to be material to the defense. See United States v.
         Valenzuela-Bernal, 458 U.S. 858, 870-81, 102 S.Ct. 3440,
         3448, 73 L.Ed.2d 1193 (1982) (dictum); United States v.
         Lilla, 699 F.2d at 105. As this Court’s recent opinion in
         United States v. Jiminez, 789 F.2d 167 (2d Cir. 1986) makes
         clear, it is not sufficient to show that the informant was a
         participant in and witness to the crime charged. In Jiminez,
         the informant was both participant and witness, but the
         district court’s refusal to order disclosure of his identity was


                                       -10-
  Case 1:10-cr-00191-RJA-HKS         Document 430      Filed 03/23/12    Page 11 of 24




              upheld on the ground that the defendant had failed to show
              that the testimony of the informant “would have been of even
              marginal value to the defendant’s case. 789 F.2d at 170.”


Id. at 1073; see also United States v. Fields, 113 F.3d 313, 324 (2d Cir.), cert. denied,

522 U.S. 976 (1997). Absent the defendant stating a basis for requiring the disclosure

of this information or that the testimony of the informant would be of even marginal

value to the defendant’s case, the defendant’s request is denied without prejudice.



Discovery

              Under the heading “Discovery,” defendant Manuel seeks an Order from

this Court directing the government to disclose documents and information enumerated

in twenty-three separate requests (with numerous sub-parts). Dkt. #355, pp.12-19.

In its response, the government fails to separately respond to the defendant’s individual

requests and states generally,

              Since the date of the indictment, the United States has
              complied, and intends to continue to comply, with the
              requirements of Rule 12 and 16. To that end, the United
              States provided comprehensive voluntary discovery in both
              the Indictment and Superseding Indictment portions of this
              case. On July 26, 2011, in accordance with the Court’s
              scheduling order, the Government provided a complete set
              of digitized CDs to each defendant’s attorney, which
              included all evidence in the Government’s possession to
              which the defendant’s [sic] were entitled under Rule 12 and
              Rule 16. Additionally, all physical evidence recovered in
              connection with this investigation is, and has been, available
              for inspection by the defendant’s attorney. From a review of
              defendant’s motion, it appears to be in large part a
              boilerplate recitation of discoverable items without regard to
              what has already been provided. If, upon careful review of
              said discovery, counsel finds any discrepancies in what the
              Government has stated it provided, counsel is invited to

                                           -11-
  Case 1:10-cr-00191-RJA-HKS          Document 430      Filed 03/23/12     Page 12 of 24




              bring it to the prosecutor’s attention and such items will be
              provided immediately.

              As the government identifies any other evidence which falls
              within the scope of Rule 16, it will provide such evidence to
              defendants and their counsel. The government will continue
              to comply with its continuing duties to disclose set forth in
              Rule 16(c). The government herein notifies the defendant
              that it may introduce all of this evidence at trial. Expert
              disclosures and expert summaries will be provided as expert
              witnesses who will testify at trial are identified by the
              government.

              The government believes it is in full compliance with Rule 12
              and Rule 16 discovery. Correspondence previously provided
              to all defense counsel, itemizing materials voluntarily
              provided, is attached hereto and incorporated by reference
              as Exhibit A.

Dkt. #376, pp.11-12.



       Statements of Defendant, Uncharged Co-defendants and Co-Conspirators

              The defendant seeks the production of “any written, recorded, oral or

observed statement of the defendant (and of any co-defendant or co-conspirator,

whether charged or not) including all notes, summaries, or memoranda concerning

such statements. . . . ” Dkt. #355, p.12. Additionally, the defendant seeks the

production of “any transcript of testimony relating to the criminal action or [sic] pending

against the defendant, given by the defendant, or any agent or employee of the

defendant (or by any codefendant whether charged or not) before any grand jury.” Id.

at p.13. Finally, defendant seeks the production of “any statement by any codefendant

or coconspirator whether or not the prosecutor intends to introduce the same at trial.”

Id. In its response, the government states in pertinent part, “[s]ince the date of the


                                            -12-
  Case 1:10-cr-00191-RJA-HKS           Document 430        Filed 03/23/12     Page 13 of 24




indictment, the United states has complied, and intends to continue to comply with the

requirements of Rule 12 and 16. To that end, the United States has provided

comprehensive voluntary discovery in both the Indictment and Superseding Indictment

portions of this case.” Dkt. #376, p.11. Based on the representations made by counsel

for the government the defendant’s request is denied as moot.



              With respect to the defendant’s request for statements made by “co-

defendant or co-conspirator whether charged or not,” the Court notes that the phrase

“uncharged co-defendant” is legally incorrect insofar as a co-defendant, as that term

suggests, must, in order to be a “co-defendant,” be “charged.” For purposes of

addressing this request, the Court will treat the request as one for the production of

witness statements. The Court notes that defendant separately requests the early

disclosure of Jencks Act material. The Court notes that defendant’s request for witness

statements, also known as, Jencks Act material, is addressed separately above.



       Co-conspirator Statements

              The government did not separately respond to defendant Manuel’s

request for co-conspirator statements. Because Rule 801(d)(2)(E) of the Federal Rules

of Evidence does not contain a required pretrial notice, there is no requirement on the

part of the government to make any such disclosure of this type of evidence at this

time. As a result, defendant’s request in this regard is denied. Any request to exclude

such statements at the trial, is a matter left to the discretion of the trial judge.



                                              -13-
  Case 1:10-cr-00191-RJA-HKS          Document 430      Filed 03/23/12     Page 14 of 24




       Witnesses

              The defendant requests that the government disclose the names and

addresses of all witnesses to the events which form the basis for these charges. Dkt.

#355, p.13. As noted above, the government did not specifically respond to

defendant’s request. However, the Court notes that the trial judge, District Judge

Arcara, has set a June 14, 2012 trial date and in the Pretrial Order (Dkt. #413) set a

May 24, 2012 deadline for the filing of pretrial submissions, including, witness lists.

Because the government will be required to disclose its witness list soon and defendant

has failed to demonstrate that immediate disclosure of the government’s witness list is

both material and reasonable, defendant’s motion is denied.



       Names of Law Enforcement Personnel
       Federal Documents
       Law Enforcement Documents

              In three separate requests, the defendant seeks the names of all law

enforcement personnel present when the defendant was taken into custody, when any

statement attributed to the defendant was made or recorded and at any search

performed in connection with this case. Dkt. #355, p.13. In addition, the defendant is

seeking copies of all documents, police reports, notes, or memoranda prepared or

maintained by police officials containing information relating to this case including, but

not limited to: copies of all search and/or arrest warrants and supporting affidavits; tape

recordings, dispatcher logs, transcripts or memoranda recording any police

communications; any notes by police officials concerning the investigation; “grand jury



                                            -14-
  Case 1:10-cr-00191-RJA-HKS         Document 430       Filed 03/23/12     Page 15 of 24




referral forms;” “copies of any written manuals, instructions, operational checklists or

test guidelines, pertaining to the chemical test used to test the controlled substances;”

and, any portion of any police department manual, directive, or policy statement

governing police conduct of this investigation. Dkt. #355, pp.15-16.



              With respect to the defendant’s request seeking the identity of law

enforcement present at certain points during the investigation, the Court refers to the

discussion above concerning the defendant’s request for the revelation of the names

and addresses of government witnesses. To the extent that certain of the law

enforcement personnel who may have been present for the events listed above and

the government does not intend to call any of those individuals as a witness, that

request is also denied for the same reasons articulated above denying defendant’s

request for the identification of the government’s witnesses.



              With respect to the defendant’s request for Federal documents and law

enforcement documents, as discussed above, with respect to impeachment material

that does not rise to the level of being Brady material, such as Jencks Act statements,

the prosecution is not required to disclose and turn over such statements until after the

witness has completed his direct testimony. See 18 U.S.C. § 3500; Fed. R. Crim. P.

26.2; In re United States, 834 F.2d 283 (2d Cir. 1987). However, if the government has

adopted a policy of turning such materials over to the defendant prior to trial, the

government shall comply with that policy; or in the alternative, produce such materials

in accordance with the scheduling order to be issued by the trial judge.

                                           -15-
  Case 1:10-cr-00191-RJA-HKS         Document 430       Filed 03/23/12     Page 16 of 24




              Based on the representations made by counsel for the government, that it

will comply with the trial judge’s pretrial order concerning the disclosure of witness

statements, the defendant’s request is denied. Notwithstanding the foregoing, the

government is hereby directed to comply with the Second Circuit Court of Appeals’

holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v.

Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely disclosure of those materials

to the defendant.



       Tapes, Photographs

              In five separate requests, the defendant seeks copies of all photographs,

drawings, video or audio tapes and CDs or other electronic recordings. Dkt. #355,

pp.14-15. In addition to the foregoing, with respect to photographs and drawings, the

defendant specifically requests those used for identification purposes. As noted above,

in its general response, the government stated that it has provided “comprehensive

voluntary discovery” and will continue to comply with its discovery obligations. Based

on the representations made by counsel for the government that it believes it is in full

compliance with Rule 12 and Rule 16 discovery, defendant’s request is denied as moot.



       Physical Evidence

              By this request the defendant seeks, “an itemized description of any

property recovered or seized during the investigation of the charges, the person or

place from which the property was taken, the person effecting such seizure or receiving



                                            -16-
  Case 1:10-cr-00191-RJA-HKS         Document 430       Filed 03/23/12    Page 17 of 24




the property, the date or dates the property was seized or recovered, and whether such

seizure was pursuant to a warrant .” Dkt. #355, p.16. In its general response, the

government maintains that it has and continues to comply with the requirements set

forth in Rule 16 of the Federal Rules of Criminal Procedure. Dkt. #376, pp.11-12.

Based on the representations made by counsel for the government, the defendant’s

request is denied as moot.



       Disclosure of Experts

              The defendant seeks the disclosure of the name and field of expertise of

each person that the government intends to call at trial as an expert witness, including

the field and subject matter of the expert’s expected testimony, a copy of the resume or

curriculum vitae of the expert, for each scientific examination or test performed, the

name, author, and chapter of any reference manual or authoritative text referred to or

relied upon and, the information relating to any other case in which the particular expert

may have testified on behalf of the government. Dkt. #355, pp.16-17. In its response,

the government states, “[e]xpert disclosures and expert summaries will be provided as

expert witnesses who will testify at trial are identified by the government.” Dkt. #376,

p.12. Accordingly, based on the representations made by counsel for the government,

defendant’s request is denied as moot.




                                           -17-
  Case 1:10-cr-00191-RJA-HKS        Document 430      Filed 03/23/12    Page 18 of 24




      Defendant’s Criminal Record

             By this request, the defendant is seeking a copy of his criminal record.

Dkt. #355, p.17. The Court notes that the defendant makes a separate request

pursuant to Rule 404(b) of the Federal Rules of Evidence and that request will be

addressed below. Based on the government’s representation that it believes it is in full

compliance with Rule 12 and Rule 16 of the Federal Rules of Civil Procedure,

defendant’s request is denied as moot.



      Scientific Tests and Examinations

             In four separate requests, including numerous sub-requests, the

defendant seeks the reports of all physical or mental examinations and scientific tests

or experiments relating to this case. Dkt. #355, pp.18-19. Based on the

representations made by the government that it has and will continue to comply with its

disclosure obligations as set forth in the Federal Rules of Criminal Procedure and the

Federal Rules of Evidence, the defendant’s request is denied as moot.



Rule 404(b), 608 and 609 Material

             In his request, the defendant states,

             [p]ursuant to Rules 12(b)(4), (d)(1) and (2) of the Federal
             Rules of Criminal Procedure, and Rules 104(a) and 404(b)
             of the Federal Rules of Evidence, Pauline Manuel
             respectfully requests that the government notify her of any
             evidence that the government contends would be admissible
             under Rule 404(h) [sic] of the Federal Rules of Evidence.




                                          -18-
   Case 1:10-cr-00191-RJA-HKS              Document 430   Filed 03/23/12   Page 19 of 24




               Pauline Manuel also requests pretrial disclosure of any
               evidence the government intends to use to impeach
               Defendant’s credibility if she should choose to testify. In the
               event that [sic] government intends to use such evidence,
               the defendant requests a pretrial hearing to determine the
               admissibility of such evidence.

Dkt. #355, p.19. In its response, the government states that,

               The government will advise of its intent to use “other acts”
               evidence pursuant to Fed.R.Evid. 404(b), or evidence
               pursuant to Fed.R.Evid. 608(b) and 609, at the time it is
               ordered to do so, which, the general custom in this District is
               two to four weeks prior to trial together with Jencks material,
               as ordered by the trial Judge. See F.R.E. 404(b), 608(b),
               609; see generally United States v. Jencks, 353 U.S. 657
               (1957). It is submitted that any hearings on the admissibility
               of such evidence is a matter for the District Court at the time
               of trial.

Dkt. #376, pp.12-13.


               Rule 404(b) only requires that “the prosecution. . . provide reasonable

notice in advance of trial. . . of the general nature of any such evidence it intends to

introduce at trial.” (Emphasis added). Insofar as the government has indicated that it

intends to comply with any pretrial disclosure order entered by the trial judge and

further, that it understands its disclosure obligations, defendant’s request is denied as

moot. The Court notes that the issue of admissibility of such evidence pursuant to

Rules 403 and 404(b) of the Federal Rules of Evidence is best left to the determination

of the trial judge at the time of trial.



               With respect to the defendant’s request pursuant to Rule 608, Rule 608

does not contain the same pretrial notice as set forth in Rule 404(b). Therefore, there is


                                               -19-
  Case 1:10-cr-00191-RJA-HKS          Document 430      Filed 03/23/12   Page 20 of 24




no requirement on the part of the government to make any disclosure of evidence, or its

intent to use evidence at the trial pursuant to Rule 608 at this time. Therefore,

defendant’s request in this regard is denied. With respect to the defendant’s request

pursuant to Rule 609, based on the representations made by counsel for the

government, defendant’s request is denied as moot. The government is hereby

reminded that should the government learn of evidence of other crimes, wrongs and

acts it intends to offer pursuant to Federal Rules of Evidence Rules 608 and 609

(impeachment material) during the trial, the government is hereby directed to provide

such information consistent with its disclosure of Jencks Act material and the disclosure

requirements set by the trial judge in advance of the trial.



Joinder

              The defendant seeks to join in any motion filed by any of her co-

defendants. Dkt. #355, p.20. This request is granted with the further directive and

finding that the decision made by this Court as to each of the co-defendant’s requests

contained in the motion in which this defendant joins shall also be deemed to be the

finding and Order of this Court as to the defendant herein.



Forfeiture Allegations

              Defendant Manuel seeks to have the forfeiture allegation concerning the

sum of $39,670 in the Superseding Indictment held in abeyance to allow counsel for

defendant Manuel time to continue his investigation. In addition, defendant Manuel



                                            -20-
  Case 1:10-cr-00191-RJA-HKS          Document 430       Filed 03/23/12     Page 21 of 24




also asserts that the forfeiture allegations concerning her husband’s interest in 70 Avery

Place, Buffalo, New York, as well as five firearms she claims belong to her

husband should be withdrawn by the government because it “lacks jurisdiction.” Dkt.

#355, pp.20-22. In its response, the government declines to withdraw the forfeiture

allegations relating to defendant Manuel’s husband’s property and argues that the

forfeiture allegations are “totally dependent on the verdict at trial” and as a result, the

motion should be denied. Dkt. #376, p.14.



              With respect to defendant Manuel’s request concerning the sum of

$39,670, the Court declines to hold these allegations in abeyance because this Court

agrees with the government that those allegations are dependent on the verdict at trial

and that trial is not scheduled to commence for nearly three months. With respect to

the allegations concerning defendant Manuel’s husband’s alleged property, defendant

Manuel has not sought relief from this Court and only asked the government to

withdraw the allegations, which the government has declined to do.



Leave to Submit Further Motions

              By this request, the defendant states, “[d]eponent has made timely efforts

to submit motions addressing Mr. [sic] Pauline Manuel’s legal issues; [sic] It may,

however, in the [sic] further be necessary to submit additional motions based on

information and materials thereafter obtained; [sic] Deponent respectfully asks this

Court for permission to submit additional motion [sic] and/or to supplement the

enclosed motion.” Dkt. #355, p.22. This request is granted provided that any additional

                                             -21-
  Case 1:10-cr-00191-RJA-HKS         Document 430      Filed 03/23/12    Page 22 of 24




bases for relief are based on facts or information learned by reason of the continuation

of the investigation or facts and circumstances revealed in the government’s response

to the instant motion or this Court’s Decision and Order.



Government’s Request for Reciprocal Discovery

             In addition to the relief requested by the defendant, the government has

made a request for reciprocal discovery. Dkt. #376, pp.14-15. The government has

requested that the defendant permit it to inspect and copy all books, papers,

documents, photographs and other tangible objects which the defendant intends to

introduce as evidence-in-chief at the trial. In addition, the government seeks to inspect

all reports of physical or mental examinations and of scientific tests or experiments,

within the possession or control of the defendant along with written summaries of expert

witness testimony that the defendant intends to use at trial. Since the defendant has

moved pursuant to Rule 16(a)(1) of the Federal Rules of Criminal Procedure for similar

materials and information, the government is entitled to this information pursuant to

Rule 16(b)(1) and its request is granted.



             Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



             This Decision and Order be filed with the Clerk of Court.




                                            -22-
  Case 1:10-cr-00191-RJA-HKS          Document 430       Filed 03/23/12    Page 23 of 24




              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of




                                            -23-
  Case 1:10-cr-00191-RJA-HKS      Document 430     Filed 03/23/12   Page 24 of 24




Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:       Buffalo, New York
             March 23, 2012


                                       s/ H. Kenneth Schroeder, Jr.
                                       H. KENNETH SCHROEDER, JR.
                                       United States Magistrate Judge




                                        -24-
